Case 18-64019-bem        Doc 31   Filed 03/04/21 Entered 03/04/21 13:20:46            Desc Main
                                  Document     Page 1 of 3



                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:                                          :   CHAPTER 7
                                                :
DIONTAE CORTEZ HICKS,                           :   CASE NO. 18-64019-BEM
                                                :
         Debtor.                                :

                                CERTIFICATE OF SERVICE

     I, S. Gregory Hays, Chapter 7 Trustee, certify that I am over the age of 18 and that on this
date, I served a copy of the foregoing NOTICE OF TRUSTEE’S FINAL REPORT AND
APPLICATIONS FOR COMPENSATION AND DEADLINE TO OBJECT (NFR) by first
class U.S. Mail, with adequate postage prepaid, on the persons or entities at the addresses stated
on the attached Exhibit “A”.

         This 4th day of March, 2021.


                                                     /s/ S. Gregory Hays
                                                    S. Gregory Hays
                                                    Chapter 7 Trustee

Hays Financial Consulting, LLC
2964 Peachtree Rd, N.W
Suite 555
Atlanta, Georgia 30305
(404) 926-0060
Case 18-64019-bem   Doc 31   Filed 03/04/21 Entered 03/04/21 13:20:46   Desc Main
                             Document     Page 2 of 3




                                  Exhibit “A”
        Case 18-64019-bem        Doc 31   Filed 03/04/21 Entered 03/04/21 13:20:46    Desc Main
                                          Document     Page 3 of 3
Capital One Bank (USA), N.A.          Georgia Power                      Capital One
4515 N Santa Fe Ave                   96 Annex                           Attn: Bankruptcy
Oklahoma City, OK 73118-7901          Atlanta, GA 30396-0002             Po Box 30285
                                                                         Salt Lake City, UT 84130-0285


Office of the US Trustee              IRS Insolvency Unit                Comcast
362 Richard Russell Building          401 W. Peachtree St., NW           PO Box 530099
75 Ted Turner Drive, SW               Room 400, Stop 334-D               Atlanta, GA 30353-0099
Atlanta, GA 30303-3315                Atlanta, GA 30308


Shawna Staton                         Georgia Power Company              Ally Financial
Office of the US Trustee              2500 Patrick Henry Pkwy            Attn: Bankruptcy Dept
362 Richard Russell Building          BIN 80003                          PO Box 380901
Atlanta, GA 30303-3315                MdDonough, GA 30253-4298           Bloomington, MN 55438-0901


Lacota Apartments                     Geico                              Diontae Cortez Hicks
6664 Peachtree Industrial Blvd        1 Geico Center                     540 Saddle Shoals Drive
Atlanta, GA 30360-2111                Macon, GA 31296-0001               Lawrenceville, GA 30046-3177



American InterCont. Univ.             FedLoan Servicing                  R. Jeffrey Field
500 Peachtree Dunwoody Rd.            Attn: Bankruptcy                   Jeffrey Field & Associates
Atlanta, GA 30328                     Po Box 69184                       342 North Clarendon Avenue
                                      Harrisburg, PA 17106-9184          Scottdale, GA 30079-1320


Caine & Weiner                        Cooling & Winter                   Caine & Weiner Company
Attn: Bankruptcy                      1355 Roswell Rd.                   12005 FORD ROAD 300
Po Box 5010                           Suite 240                          DALLAS, TX 75234-7262
Woodland Hills, CA 91365              Marietta, GA 30062-3690


Convergent Outsourcing, Inc.          Credit Collection Services         Us Dept Veteren Affairs
Attn: Bankruptcy                      Attn: Bankruptcy                   Debt Management Center
Po Box 9004                           725 Canton St                      Po Box 11930
Renton, WA 98057-9004                 Norwood, MA 02062-2679             St Paul, MN 55111-0930


Regions Bank                          First Credit Services              First Premier Bank
P.O. Box 11007                        377 Hoes Lane                      Attn: Bankruptcy
Birmingham, AL 35288-0001             Suite 200                          Po Box 5524
                                      Piscataway, NJ 08854-4155          Sioux Falls, SD 57117-5524


GA Department of Revenue              Netcollction                       United States Attorney
Compliance Division                   2774 N Cobb Parkway                Northern District of Georgia
1800 Century Blvd., NE, S9100         Kennesaw, GA 30152-3469            75 Ted Turner Dr SW, Ste 600
Atlanta, GA 30345                                                        Atlanta, GA 30303-3309


Department of the Treasury
Internal Revenue Service
P.O. Box 7346
Philadelphia, PA 19101-7346
